962 F.2d 6
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Charles Davis BURRELL, Plaintiff-Appellant,v.Mark R. DAVIS, Assistant Attorney General;  Robert L.Harris, Judge, Defendants-Appellees.
    No. 92-1120.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  May 4, 1992Decided:  May 19, 1992
    
      Charles Davis Burrell, Appellant Pro Se.
      George Walerian Chabalewski, Office of The Attorney General of Virginia, Richmond, Virginia, for Appellees.
      Before HALL, WILKINS, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Charles Davis Burrell appeals from the district court's order denying relief under 42 U.S.C. §§ 1983, 1985 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Burrell v. Davis, No. CA-91-479-3 (E.D. Va.  Dec. 18, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    